Case 07-19162" Doc 67-2 Filed 06/14/O8xé. Raga sb of 2

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NOTE
duty 31... 2006 . ; MAHASSAS.VA
- [cyt
148 O18 SOLOKONS SSLAND ROAD. LOTHIAN ~WD BOOTIE
[Property Address}

1, BORROWER'S FROMISE TO PAY :

In retum for a loan that J have received, J promise w'pay US. - 130,800.00 {this amount is called
“principal, plos interest, to the order af the Lander. The Lender i , .
PIRES Y SERVINGS HORTEAGE CORPORATION. A VIRGINIA CORPORATION. .
Lunderstend thet the Lender mey transfer this Note. ‘The Lender or anyone who takes this Note by transfer and who is
entitied to receive payments under this Note is called the “Nite Holder."
2, INTEREST ‘ . .

Interest will be tharged on unpaid principal until the fall amount of principal has been paid. Iwill pay interest ota
yearly rate of 9. 605, %. :

‘The interest rate’afier any default deseribed in Section 6{H) shall acerus and be puyable on the Indebtedness
evidenced hereby at the rate of for perctnt (4.09) per annum in exotas of the sbive "Rate".
3. PAYMENTS .

{A} Tne aed Place of Payments

1 will pay principal and interest. .

I will make my paymentson Bovesber 28, 2086. J will make these payments until I have paid all of the
principal and interest and any other charges described bolow thet } may owe under this Note. My payments will be
applied io interest before principal. oe Hevember 28. 265 @ still owe amounts under this Note, 1 will pay

thase amounts in ffl oo + date, whinh is called the maturity date". .
Ywill make my payhuedis at B444 WESTPARK GRIVE., 47H FLODR :
HELEAN, WA E2788 or at 4 different place if required by the Note Holder. .
(8), Amount of Payments ‘ . . 2 . ;
‘My payment will be principal and intarest at maturity. ft : mt se Rt

4. BORROWER'S RIGHT TO PREPAY .
Lhave the right to make payments of principal at any thor before they are due. A payment of principal only ts
known as & “prepayment.” ‘When Lnake-a prepaymeat; 1 will tell the Note Holder in wating thet I emo bing Eo, wil
L may make e full prepayment or partial prepayments without paying amy prepayment chasze. The Note Holder wil
née ell of my prepayments to reduce the amownt of principal that 1 owe under this Note, Hf] make a partial prepayment, ;
tere wl bao chang ted oto te aon fey payment mie Now Sales Fess 8 NSE ite i
ose . Se a . . . .
5. LOAN CHARGES nm ae * "
_ Talaw, which applies to this Joan and which sets maximum Joan chirges, is finally interpreted 20 that the interest
cr other loan charges collected or tp be collected in comnection with this lnan exored the, permitted limits, then; Gi) any *
such Joan charge shall be xedeted by the mount necessary to mdace the charge to the permitted Emit; and (2) any '
spms already collected from me which exterded peemitted limits will be refmded to mo. ‘fhe Note Bolder may choose
to make this refand by redacing the principal I owe under this Note or by muking » direct paymentio me. Tf a refund
reduces principal, the reduction will be treated at a partial prepayment, . :
6. BORROWER'S FAILURE TO PAY AS REQUIRED
(A) ‘Late Charge for Overdue Payments . . . . . .
TE the Note Holder has not received the fall amount of any payment by the end of Sé ven calendar days after ‘
the date i is due, I will pay a late charge'yo the Note Holder, The emountofthe chargewill be «1.00% ofmy
overdue payment of principal and interest, :

. fey "8 ;
(B) Defmut. | : ‘ . a
TE1 do pot pay the fall amount of cack pryment on the date it is dpe, Lwillbeindefult, =~
{C) Notice of Default . 3

IE em in default, the Note Holder may send me « written notice telling me that HEI do not pay the overdue amount -
by a certain dats, the Note Holdersmay require me to pay immediately the fol amount of principal which hae not been
‘: paid and all the interest thet F ows'on that antount. { date must be at Inest 30 days witer the date on which the notice
is delivered or maiiediome. =. . : ‘
(D) No Waiver By Note Holder ;

Byen if, ata time when ] em in default, the Note Holder dees not require me to pay feumediately in foll as desevibed
above, tht Note Holder will still have the sight to do sa if 1 am in.default at a latex fine. - .

(KE) Payment of Note Bolder’s Costs and Expenses .

IE the Note Holder hos requived me to pry immediately in full az described above, the Note Holder will have the
right to be paid back by me for all of ite costs wud expenses in enforcing this Note to ike extent not prohibited by = -
applicable law. ‘Phose expenses include, for example, reasonable aitorneys’ fees. '

4. GIVING OF NOTICES .

Unies applicable law requires a different mathod; any notice Hat must be given to me under this Nats will be given
by delivering # or by mailing it by first elngs raail to me at the Property Address above or at different address if I give ;
the Note Bolder a notice of my different address, -

Any notice that must be given fo the Note Holder under this Note will be given by mailing ft by first class mail to the

Note ‘Holder at the address stated jn Section 3(4) above or at a different address if] am given a notice of that different
address, :

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‘ }
_ MULTISTATE CONSTRUCTION PIEED NOTE __, BORM3247 0112001
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8. OBLIGATIONS OF PERSONS UNDER THISNOTE =” ;

TE more ten Gne person signs this Note, cach pezson is fully and personally obligeted to keep all of the promises”
made in this Note, incleding the promise to pay the full amount owed. Any pessoa who is s guarantor, surely oF
cotinrecs of this Note is also obligated to do thesé things. Any parson who tekes over these obligations, including the
obligations of a giarautor, surety or endorser of this Noté, is atso obligated to keep all of the promises made in this
Note. ‘The Note Holder may enfores its rights under this Note apainst tach person individually or against all of us
together. “This means that aay one of ns may be required to pay afi of the amounts owed under this Note.

9. WAIVERS . :

T and any other person who has obligations under this Note waive the rights of presentment and aotios of dishonor.
"Presentment insane the right to regnira the Note Holder to demand payment of amounts doe. “Notice dF dishonor*
means the right to require the Note Holder to give notice to other persons that amounts due have'not been paid.

10. UNDRORM SECURED NOTE M

“This Note is a uniform instroment with limited variotions in some jurisdictions. In addition to the prolections given
to the Note Holder under this Nols, a Morigage, Deed of Trost or Security Deed (the "Security Instrument"), dated the
same date ag this Note, protects the Note Holder fram possible losses w: ith might result i’ do not keep the promises
which Lmake in this Note, That Security Tnstrument describes how and under what conditions t may be required to
sale mmbdite payment in fll of st smounis3 ewe unis Is Nov Some of those conditions are described a8

WSs

Transfer of the Property or 2 Beneficial Interestin Borrower, “ If ell or any part of the Property or any
interest in its sold or transferred (or if 2 beneficial interest in Borrower is sold or transierred and Borrower is
not a naturel person) without ‘Lender's prior wiilien consent, Lender many, at His aption, require immediate

. payment ix full of all sums secured by this Security Instrument. However, this option shall not be exercised by
Lender if exorcist is prohibited by federal lew as of the date of this Security Inelrument,

IE Lender exercises this option, Lender shalt give Bormuwer notice of accelecation, The notices shall provide
| a period of not less than 30 days from the date the notice ts delivered or mailed within whick Borrower mst
pry all sums secured by this 5: $ty Tnstroment. Borrower fails to pay these sums prior to fhe expiration of
this pesiod, Lender may invoke any remedies parmitted by this Seourity Instrument without farther notice or
demand on Borrower. . . ,

7?

li, FEES : . ,

You may be required to pay at closing of the constroction Lofin 8 non-refindable Conversion Fee equalio
one percent (1.0%) of the loan smonnt, which amoant represents the fee for maintaining the option to convert
the Losn to 2 permanent Loun with Lender following completion of the rehabilitation construction and/or
improvements (suck Conversion Pee will be deemed earned by Lender pi the closing of the constroction Loan
andl Lender shall be entitled to snch Conversion Fee). Hyou elect nof-to prroue the permanant Lom wath the
Lender and heve not pxid the Conversion Fee, gch Conversion Pot shall be added to the final payoft.
amount due with respect to the constroction Loan. However, if you vlect to pursue the permanent Loan with
tha Lender, sock conversion fee will bewalved,” . L t .

 

WITNESS THE HAND(S) AND SEALS) OF THE UNDERSIGNED..

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Virem? YEETH B. STEVENS ‘
“dower WELT SSIATL. STEVERS ad

* + . neh,

ESige Griginad Only}

” _ MUTLISTATE. CONSTRUCTION FIXED NOTE FORM S347 L263 |
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